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                IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                      CENTRAL DIVISION




 UNITED STATES OF AMERICA,
           Plaintiff,                                    MEMORANDUM DECISION AND
                                                         ORDER GRANTING DEFENDANT’S
                                                         MOTIONS FOR EARLY
                                                         TERMINATION OF SUPERVISED
                                                         RELEASE


                   vs.


 OMAR SANCHEZ,                                           Case No. 2:00-CR-56 TS
           Defendant.




       This matter is before the Court for consideration of Defendant’s Motions for Early

Termination of Supervised Release.1 For the reasons discussed below, the Court will grant the

Motion.

                                       I. BACKGROUND

       A Superseding Indictment was brought against Defendant on March 1, 2000. The

Superseding Indictment contained two counts: (1) armed bank robbery, a violation of 18 U.S.C. §

2113(a) and (d); and (2) use of a firearm during a felony, a violation of 18 U.S.C. § 924(c).


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           Docket Nos. 171, 172.

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Defendant pleaded guilty to both counts of the Superseding Indictment on April 4, 2000.

Defendant was sentenced on June 20, 2000, to a period of 130 months in the custody of the

Bureau of Prisons, to be followed by a 60-month term of supervised release. Defendant now

moves to terminate that supervision. The government has no objection to the Motion.

        In his Motion, Defendant states that he has completed 36 of his 60 months of supervised

release. Defendant indicates that he has been compliant with the terms of his supervision and has

made significant payment towards his restitution. Defendant also indicates that he would like to

relocate to Elko, Nevada, to pursue a career in the mining industry. Consultation with

Defendant’s supervising officer confirms that Defendant has remained substantially compliant

with the terms of his supervised release and has paid over $15,000 of the restitution owed in this

case.

                                         II. DISCUSSION

        18 U.S.C. § 3583(e) permits the Court to terminate supervised release at any time after a

defendant has completed at least one year of supervised release, but prior to completion of the

entire term, if the Court is satisfied that such action is (1) warranted by the conduct of an

offender and (2) is in the interest of justice. In making this determination, the Court is directed to

consider the factors set forth in 18 U.S.C. § 3553(a), to the extent they are applicable.

        Having considered these factors, reviewed the docket and case file, and consulted with

Defendant’s supervising officer, the Court finds that early termination of Defendant’s term of

supervised release is both warranted by the conduct of the offender and in the interest of justice.




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                                      III. CONCLUSION

       It is therefore

       ORDERED that Defendant’s Motions for Early Termination of Supervised Release

(Docket Nos. 171, 172) are GRANTED. It is further

       ORDERED that Defendant’s term of supervised release shall be terminated effective

immediately and this case shall be closed.

       DATED October 30, 2012.

                                             BY THE COURT:



                                             _____________________________________
                                             TED STEWART
                                             United States District Judge




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